        Case 1:21-cr-00312-JEB Document 85 Filed 03/15/23 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    )
                                             )     CRIMINAL NO.
            v.                               )     21-CR-312-JEB
                                             )
BRADLEY STUART BENNETT                       )


       DEFENDANT’S MOTION TO WITHDRAW AND TO APPOINT
                    SUBSTITUTE COUNSEL


      The Office of the Federal Public Defender hereby moves for an order

allowing it leave to withdraw as counsel of record for BRADLEY STUART

BENNETT. The Office of the Federal Public Defender has learned that a

conflict of interest exists between the defendant and another Federal Public

Defender client. The general nature of the conflict is that the representation

of one of the clients could adversely affect the representation of the other client.

If counsel proceeds with representation of this defendant, it is possible that

counsel will have to withdraw from representing both clients. Undersigned

counsel learned of the existence of a conflict on Wednesday, March 15, 2023.

See, Rule 1.7 (a), (b)(2), and (b)(3), District of Columbia Bar Rules of

Professional Conduct and (3); Rule 1.7(a), North Carolina Revised Rules of

Professional Conduct. The undersigned have notified Assistant United States

Attorneys Sean Murphy and Nialah Ferrer of their intention to file this motion.
       Case 1:21-cr-00312-JEB Document 85 Filed 03/15/23 Page 2 of 3




     WHEREFORE, the Office of the Federal Public Defender moves for an

order allowing it leave to withdraw as counsel of record for BRADLEY

STUART BENNETT, and directing that substitute counsel be appointed.

     Respectfully submitted, March 15, 2023.

                                  LOUIS C. ALLEN III
                                  Federal Public Defender

                                  /s/ Lisa S. Costner
                                  ______________________
                                  LISA S. COSTNER
                                  Assistant Federal Public Defender
                                  North Carolina State Bar No. 14308
                                  251 N. Main Street, Suite 849
                                  Winston-Salem, NC 27101
                                  (336) 631-5278, Ext. 5172
                                  Email: lisa_costner@fd.org


                                  /s/ Stacey D. Rubain
                                  STACEY D. RUBAIN
                                  Assistant Federal Public Defender
                                  North Carolina State Bar No. 26690
                                  301 N. Elm Street, Suite 410
                                  Greensboro, NC 27401
                                  Ph: (336) 333-5420
                                  Email: stacey_rubain@fd.org




                                    2
        Case 1:21-cr-00312-JEB Document 85 Filed 03/15/23 Page 3 of 3




                       CERTIFICATE OF SERVICE

      I hereby certify that on March 15, 2023, I electronically filed the
foregoing Motion to Withdraw as Counsel of Record with the Clerk of the Court
using the CM/ECF system which will send notification of such filing to the
following:

                 Sean Murphy
                 Nialah Ferrer
                 Assistant United States Attorneys


     Respectfully submitted,


                                   /s/ Lisa S. Costner

                                   ______________________
                                   LISA S. COSTNER
                                   Assistant Federal Public Defender
                                   North Carolina State Bar No. 14308
                                   251 N. Main Street, Suite 849
                                   Winston-Salem, NC 27101
                                   (336) 631-5278, Ext. 5172
                                   Email: lisa_costner@fd.org




                                     3
